       Case 2:19-cv-05547-DJH Document 92 Filed 06/02/22 Page 1 of 1



 1
 2
 3
 4
 5
 6                       IN THE UNITED STATES DISTRICT COURT
 7                                 FOR THE DISTRICT OF ARIZONA
 8
 9   Brian Mecinas, et al.,                            No. CV-19-05547-PHX-DJH
10                   Plaintiffs,                       ORDER
11   v.
12   Katie Hobbs,
13                   Defendant.
14
15          This matter is before the Court on the Plaintiffs’ Notice of Stipulated Dismissal
16   pursuant to Fed. R. Civ. 41(a)(1)(A)(ii) (Doc. 87), filed on May 2, 2022.
17   Rule 41(a)(1)(A)(ii) authorizes a plaintiff to dismiss an action without a court order by
18   filing “a stipulation of dismissal signed by all parties who have appeared.” Fed. R. Civ.
19   41(a)(1)(A)(ii). The voluntary dismissal meets these requirements. Therefore, despite the
20   Ninth Circuit’s June 1, 2022, Mandate (Doc. 91) reversing and remanding the case to this
21   Court, and a proposed amicus brief filed by non-party State of Arizona (Doc. 89), the Court
22   will order the case be administratively dismissed and closed.
23          IT IS ORDERED approving Plaintiffs’ Notice of Stipulated Dismissal (Doc. 87).
24   This action is dismissed, without prejudice, and the Clerk of Court is kindly directed to
25   terminate this action in its entirety.
26          Dated this 2nd day of June, 2022.
27
                                                 Honorable Diane J. Humetewa
28                                               United States District Judge
